                         Case 1-20-42730-nhl               Doc 1        Filed 07/24/20            Entered 07/24/20 16:50:02



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION

Case number (if known)                                                      Chapter       11
                                                                                                                               Check if this an amended
                                                                                                                               filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if known).
For more information, a separate document,                                                            is available.


1.   Debtor's name                Comforrt Auto Group NY LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Chrysler Dodge Jeep Ram Fiat of Bay Ridg
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8825 5th Ave
                                  Brooklyn, NY 11209-5901
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Comforrt Auto Group NY LLC                                                                    Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 441110

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a small              Chapter 11. Check all that apply:
     business debtor must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of operations,
     subchapter V of chapter 11                                   cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
     (whether or not the debtor is a                              procedure in 11 U.S.C. § 1116(1)(B).
      small business debtor ) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
     check the second sub-box.                                    (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                                  under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance
                                                                  sheet, statement of operations, cash-flow statement, and federal income tax return, or if any of these
                                                                  documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                  Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against the
     debtor within the last 8             Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                    Case number
                                                 District                                  When                                    Case number

10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                        Relationship
                                                 District                                  When                                Case number, if known



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Debtor   Comforrt Auto Group NY LLC                                                                  Case number ( if known )
         Name


11. Why is the case filed in    Check all that apply:

                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                               Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .          Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                               1,000-5,000                                  25,001-50,000
    creditors                       50-99                                              5001-10,000                                  50,001-100,000
                                    100-199                                            10,001-25,000                                More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                       $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                    $50,001 - $100,000                                 $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                                $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion


16. Estimated liabilities           $0 - $50,000                                       $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                    $50,001 - $100,000                                 $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                                $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                              $100,000,001 - $500 million                  More than $50 billion




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Debtor    Comforrt Auto Group NY LLC                                                                      Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       July 24, 2020
                                                    MM / DD / YYYY


                                  /s/ Tim Ziss                                                                   Tim Ziss
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   Manager




18. Signature of attorney         /s/ Kevin J. Nash                                                                Date July 24, 2020
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  Kevin J. Nash
                                  Printed name

                                  Goldberg Weprin Finkel Goldstein LLP
                                  Firm name


                                  1501 Broadway 22nd Floor
                                  New York, NY 10036
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (212) 221-5700                  Email address         knash@gwfglaw.com

                                  Kevin J. Nash
                                  Bar number and State




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